           Case 2:16-cv-01694-RSM Document 21-1 Filed 08/17/17 Page 1 of 19




 1                                                  THE HONORABLE RICARDO S. MARTINEZ
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                               UNITED STATES DISTRICT COURT
 8                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 9                                            CASE NO. 2:16-cv-01694-RSM
     BRITTANY EASTON,
10
                                                     DECLARATION OF YOUNG-JI HAM IN
11                                 Plaintiff.        SUPPORT OF PLAINTIFF’S MOTION
                                                     TOPlaintiff,
                                                        EXCLUDE TESTIMONY OF RUSS
12         v.                                        PERISHO

13   ASPLUNDH TREE EXPERTS, CO.,                     Note on Motion Calendar:
                                                     Friday, September 1, 2017
14
                                   Defendant.
15 I, Young-Ji Ham, do hereby declare as follows:

16     1. I am of legal age, competent to testify to the matters herein, and do so on my own
17         personal knowledge.
18     2. I am the attorney of record for Plaintiff Brittany Easton in this case. I write this
19         declaration in support of Plaintiff’s Motion to Exclude Defendant’s Expert Witness, Russ
20         Perisho.
21     3. Exhibit 1 is a true and correct copy of an emails between Jenna Labourr, attorney for
22         plaintiff, and Casey Bruner, attorney for defendant, dated August 7, 2017 and August 9,

23         2017.

24     4. Exhibit 2 is a true and correct copy of Russ Perisho’s report, dated August 8, 2017.

25
      DECLARATION OF YOUNG-JI HAM IN SUPPORT OF                      WASHINGTON INJURY LAWYERS, PLLC
      PLAINTIFF’S MOTION TO EXCLUDE DEFENDANT’S                                  2211 Elliott Avenue, Suite 200
      EXPERT TESTIMONY - 1                                                                   Seattle, WA 98121
                                                                          Tel. 425.312.3057 | Fax 206.866.0208
           Case 2:16-cv-01694-RSM Document 21-1 Filed 08/17/17 Page 2 of 19




 1
       5. Exhibit 3 is a true and correct copy of Maureen Clark’s C.V.
 2
     I HEREBY DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE
 3
     STATE OF WASHINGTON THAT THE FOREGOING IS TRUE AND CORRECT.
 4
           DATED this 17th day of August, 2017 at Seattle, Washington.
 5
                                                  WASHINGTON INJURY LAWYERS, PLLC
 6
                                                  /s/Young-Ji Ham
 7
                                                  Young-Ji Ham, WSBA #46421
 8                                                Attorney for Plaintiff
 9

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      DECLARATION OF YOUNG-JI HAM IN SUPPORT OF                     WASHINGTON INJURY LAWYERS, PLLC
      PLAINTIFF’S MOTION TO EXCLUDE DEFENDANT’S                                 2211 Elliott Avenue, Suite 200
      EXPERT TESTIMONY - 2                                                                  Seattle, WA 98121
                                                                         Tel. 425.312.3057 | Fax 206.866.0208
            Case 2:16-cv-01694-RSM Document 21-1 Filed 08/17/17 Page 3 of 19




 1                                    CERTIFICATE OF SERVICE

 2 The undersigned hereby declares under penalty of perjury under the laws of the State of
     Washington, that on the date noted below, a true and correct copy of the foregoing was delivered
 3
     and/or transmitted in the manner(s) noted below:
 4
     Francis S. Floyd, WSBA #10642                               [ ] Via Facsimile
 5 Casey M. Bruner, WSBA #50168                                  [ ] Email per E-service Agreement
     Floyd, Pflueger & Ringer, P.S.                              [ ] Via U.S. Mail
 6 200 West Thomas Street, Suite 500                             [X] Via CM/ECF
   Seattle, WA 98119
 7
   ffloyd@floyd-ringer.com
 8 cbruner@floyd-ringer.com
   Attorneys for Defendant
 9

10 Dated this 17th day of August, 2017 at Seattle, Washington.

11
                                                   /s/Young-Ji Ham
12                                                 __________________________
                                                   Young-Ji Ham, WSBA #46421
13

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25
       DECLARATION OF YOUNG-JI HAM IN SUPPORT OF                      WASHINGTON INJURY LAWYERS, PLLC
       PLAINTIFF’S MOTION TO EXCLUDE DEFENDANT’S                                  2211 Elliott Avenue, Suite 200
       EXPERT TESTIMONY - 3                                                                   Seattle, WA 98121
                                                                           Tel. 425.312.3057 | Fax 206.866.0208
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                        EXHIBIT 1
8/17/2017                                                              Gmail - Easton
                                             Case 2:16-cv-01694-RSM Document     21-1 v. Asplundh
                                                                                           Filed 08/17/17 Page 5 of 19

                                                                                                                                              Young­Ji Ham <youngji.ham@gmail.com>



  Easton v. Asplundh 
  Casey Bruner <cbruner@floyd­ringer.com>                                                                                         Wed, Aug 9, 2017 at 10:12 AM
  To: Jenna Labourr <Jenna@washinjurylaw.com>, "Francis S. Floyd" <ffloyd@floyd­ringer.com>
  Cc: Young­Ji Ham <youngji@washinjurylaw.com>, Jennifer Jimenez <jjimenez@floyd­ringer.com>, Dana Weller <dweller@floyd­ringer.com>


    Hi Jenna,

     

    Attached is Mr. Perisho’s report.  You will receive Dr. Vandenbelt’s report by the end of the week.

     

    Sincerely,

     

    Casey M. Bruner | Attorney   
    Floyd, Pflueger & Ringer, P.S.  
    200 West Thomas Street, Suite 500 
    Seattle, WA  98119­4296  
    206­441­4455  
    Fax: 206­441­8484
    cbruner@floyd­ringer.com  
    www.floyd­ringer.com
     

     

     

    From: Jenna Labourr [mailto:Jenna@washinjurylaw.com]  
    Sent: Monday, August 07, 2017 9:33 AM 
    To: Casey Bruner <cbruner@floyd­ringer.com>; Francis S. Floyd <ffloyd@floyd­ringer.com> 
    Cc: Young­Ji Ham <youngji@washinjurylaw.com> 
    Subject: Easton v. Asplundh

     


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8/17/2017                                                                    Gmail - Easton
                                                   Case 2:16-cv-01694-RSM Document     21-1 v. Asplundh
                                                                                                 Filed 08/17/17 Page 6 of 19
    Good morning:

    I'm checking in on the status of your experts' reports. The deadline for providing these was 7/12. We spoke on 7/11 and we agreed to give you an extension
    because you did not have them ready yet and Casey indicated at that time that you would only need an additional 2 ­­ 3 weeks. This Wednesday will be 4 weeks
    past the original deadline. If we do not receive them by close of business on Wednesday, I will call Friday at 10:00am for a 26(i) conference on this matter. Thank
    you.

    Jenna

    ­­

     

                        Jenna M. Labourr, Esq.
                        Washington Injury Lawyers, PLLC

                        Seattle (Main Office): 2211 Elliott Avenue, Suite 200, Seattle, WA 98121 

                        Tacoma: 1201 Pacific Avenue, Suite 600, Tacoma, WA  98402

                        Phone: (425) 312­3057 | Fax: (206) 866­0208

                        Email: jenna@washinjurylaw.com | Website: www.washinjurylaw.com




                        Follow us 
                                                



          

    This email and any files transmitted with it are confidential and intended solely for the use of the individual or entity to whom they are addressed. This message
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    original and all copies of the email message.



             Perisho Report 080817.pdf 
             8055K



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                     EXHIBIT 2
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                       EXHIBIT 3
        Case 2:16-cv-01694-RSM Document 21-1 Filed 08/17/17 Page 19 of 19




                                             Maureen Clark
Three Sixty HR, Inc., Menlo Park, CA                                                       2012-Present
(formerly Clark Associates, Menlo Park, CA)                                                1986-2012
Human Resource Management, Expert Witness Consultation
Internal HR Investigations (PI27972)
         Over 200 clients served in high tech, manufacturing, services, not-for-profit, education, and public sectors.
         Practice has grown solely through client and professional referrals.
         Human Resource management projects focus on:
              o Infrastructure: setting up, professionalizing and auditing HR functions; developing Employee
                  Handbooks; implementing HR standard practices
              o Problem solving: resolving difficult interpersonal workplace issues
              o Neutral fact-finding, internal investigations
              o Project management: specialized projects such as the nationally-recognized
                  CareerManagement@Sun

Raychem Corporation (now Tyco International), Menlo Park, CA                            1982-1985
Human Resources Manager, U.S. Sites Division
       Managed an HR staff that served over 750 U.S. employees in support functions such as Finance,
       Distribution, Engineering, Purchasing, Security, Human Resources, Facilities, and Information Technology

Crocker National Bank (merged into Wells Fargo Bank), San Francisco, CA                     1976-1982
AVP and Manager
        Policy Planning, Relocation, Personnel Research
        College Relations
        Career Development

Pinsker, Winguth & Associates, Sunnyvale, CA                                                1973-1976
Retained Executive Search
Research/Search Associate

Source EDP/Source Finance, Palo Alto, CA                                                    1972-1973
Capital Benefit Corporation, San Francisco, CA                                              1971-1972
William Kenny & Associates, Saratoga, CA                                                    1970-1971

Certifications, Education, Memberships, Volunteer Experience
         SHRM-SCP – Senior Certified Professional (2015-2018), SPHR–CA – Senior Professional in Human
         Resources (2005 – 2018), California certification (2010 – 2018)
         Certificate of Completion, 2012 AWI National Training Institute for Workplace Investigators
         M. Ed., Counseling, San Jose State University (1975)
         B.S., English, University of Francisco (1970)
         Professional Memberships: Forensic Expert Witness Association (FEWA), Association of Workplace
         Investigators (AWI), Society for Human Resources Management (SHRM), Northern California Human
         Resources Association (NCHRA), ProVisors, Peninsula Executives Association (PEA), California Chamber of
         Commerce
         Nonprofit Volunteer Experience: St. Ignatius High School Board of Trustees (2014–Present), Vallombrosa
         Retreat Center Board (two years); University of San Francisco Board of Trustees (19 years total: six years
         as Vice Chair, 16 years chairing/serving on the Personnel Committee); Presentation High School Board of
         Trustees (six years); San Mateo County Child Care Coordinating Council Board (three years); Menlo Park
         Child Care Action Council Board (three years on the Board, two years as President); St. Raymond Church
         Parish Council (five years), PEA Board member and past President, ProVisors Executive Committee



  356 Hedge Road      Menlo Park, CA 94025       Phone: 650-328-1165    Fax: 650-328-1166     www.threesixtyhr.com.
